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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                     SEATTLE DIVISION

10   RAELENE D. CANTIL,                                    CASE No. C21-5319-SKV

11            Plaintiff,

12            v.                                           ORDER OF REMAND

13   COMMISSIONER OF SOCIAL SECURITY,

14            Defendant.

15            Based on the stipulation of the parties, it is ORDERED that the Commissioner’s decision

16   in regard to Plaintiff’s applications for a period of disability, disability insurance benefits, and

17   supplemental security income under Titles II and XVI of the Social Security Act be REVERSED

18   and REMANDED to the Acting Commissioner of Social Security for further administrative

19   proceedings. On remand, the Appeals Council will evaluate the Lucia challenge raised by

20   Plaintiff’s representative, pursuant to Social Security Ruling (SSR) 19-1p, and will issue either a

21   decision or an order remanding the case to an administrative law judge (ALJ), as appropriate.

22            IT IS FURTHER ORDERED that the Clerk will enter judgment pursuant to this order.

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              This remand should be made pursuant to sentence four of 42 U.S.C. § 405(g) and
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     Plaintiff should be entitled to reasonable attorney fees and costs, pursuant to 28 U.S.C. §
 3
     2412(d), upon proper request to this Court.
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              DATED this 5th day of November, 2021.
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                                                          A
                                                          S. KATE VAUGHAN
 8                                                        United States Magistrate Judge

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11   Presented by:

12   s/ Justin L. Martin
     JUSTIN L. MARTIN
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     Office of the General Counsel
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